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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

FOAD ASSOU,                                          §
     Plaintiff,                                      §
                                                     §           CIVIL ACTION NO. 1:20cv-771
                                                     §
v.                                                   §
                                                     §               JURY DEMANDED
THE KENAN ADVANTAGE GROUP, INC.,                     §
KENAN TRANSPORT, LLC,                                §
PETRO CHEMICAL TRANSPORT, LLC.,                      §
and GHION TSEGA,                                     §
     Defendants.                                     §
                                                     §

           PLAINTIFF’S MOTION FOR SUBSTITUTE SERVICE OF PROCESS

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES FOAD ASSOU, as Movant, in the above-referenced cause, and asks the

court to authorize substituted service on Defendant, GHION TSEGA by serving him at last known

address is 1808 Bent Cove, Leander, Williamson County, Texas, 78641.

     1. This case involves claims made from a motor vehicle collision that occurred on May 12,

        2019. Specifically, Defendant, GHION TSEGA, collided with the driver’s side of Movant

        FOAD ASSOU’s vehicle.

     2. Defendant GHION TSEGA’s last known address is 1808 Bent Cove, Leander, Williamson

        County, Texas, 78641.

     3. Movant attempted to serve Defendant GHION TSEGA on a couple of occasions by

        personal delivery at his last known address but, was unsuccessful. Notably, on August 15,

        2020, Defendant GHION TSEGA hung up on the process server. Then, Defendant called

        the process server back and told him to stop calling.   These actions prove that Defendant

        GHION TSEGA is willfully refusing service.
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4. Movant attaches the Affidavit of Due Diligence in support of this Motion for Substitute of

   Service of Process and incorporates it herein by reference as, Exhibit “A.”

5. Movant ask this court to authorize Movant to serve Defendant GHION TSEGA by leaving

   a true and current copy of the Summons along with Plaintiff’s Original Petition and the

   Summons with anyone over the age of sixteen (16) years at 1808 Bent Cove, Leander,

   Williamson County, Texas, 78641 or by securely attaching it to Defendant, GHION

   TSEGA’S door frame at his place of residence or any other means that would give the

   Defendant, GHION TSEGA reasonable notice as set out in Rule 106(b) of the Texas Rules

   of Civil Procedure.

                                           PRAYER

           Movant prays that this Court enter an order authorizing substituted service for

   Defendant GHION TSEGA at 1808 Bent Cove, Leander, Williamson County, Texas,

   78641 in support of this Motion for Substitute Service.



                                        Respectfully submitted,
                                        THE LAW OFFICE OF THOMAS J. HENRY
                                        5711 University Heights Blvd. Suite #101
                                        San Antonio, Texas 78249
                                        Telephone: (361) 985-0600
                                        Facsimile: (361) 985-0601


                                 By:    /s/Syreeta Alexander
                                        Syreeta Alexander
                                        State Bar Number: 24058849
                                        salexander@thomasjhenrylaw.com
                                        * salexander-svc@thomasjhenrylaw.com
                                        COUNSEL FOR PLAINTIFF
                                        *service by email to this address only.
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                             CERTIFICATE OF CONFERENCE
        Plaintiff is unable to confer with the remaining defendants because they have not answered
the suit. The remaining Defendants were served with the Summons on August 18, 2020.


                                             /s/Syreeta Alexander
                                             Syreeta Alexander


                                CERTIFICATE OF SERVICE
       I hereby certify that on the 1st day of September 2020 a true and correct copy of this
document has been served in accordance with the Federal Rules of Civil Procedure up the
following:


Via Certified Mail Return Receipt Requested:
THE KENAN ADVANTAGE GROUP, INC.
Registered Agent
CT Corporation System
400 Easton Commons Way, Suite 125
Columbus, Ohio, 43219

KENAN TRANSPORT, LLC
Registered Agent
CT Corporation System
1999 Bryan Street, Suite 900
Dallas, Texas 75201-3136

PETRO CHEMICAL TRANSPORT, LLC
Registered Agent
CT Corporation System
1999 Bryan Street, Suite 900
Dallas, Texas 75201-3136


                                             /s/Syreeta Alexander
                                             Syreeta Alexander
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                                               Exhibit "A"


                                   AFFIDAVIT OF DUE DILIGENCE

                                                                                                County of Western
State of Texas

Case Number: 1:20-CV-771RP

Plaintiff:
                                                                                          CAN2020000384
FOAD ASSOU
vs.
Defendant:
THE KENAN ADVANTAGE GROUP, INC., KENAN TRANSPORT, LLC,
PETRO CHEMICAL TRANSPORT, LLC., and GHION TSEGA

For:
Pronto Process
1406 W Salinas
San Antonio , TX 78207
                                                                                                          Tsega,
Received by Pronto Process on the 14th day of August , 2020 at 2:28 pm to be served on Ghion
1808 Bent Oak Cove, Leander, Williamson County, TX 78641 .
                                                                                                         at 4:57 pm,
I , Emmanuel Morales, being duly sworn, depose and say that on the 17th day of August, 2020
I:
                                                                                                        ,
NON-SERVED the Summons and Plaintiffs Original Complaint; Jury Demanded After due search
                                                                             the reasons detailed in the
careful inquiry and diligent attempts was unable to serve on Ghion Tsega for
comments below.

Additional Information pertaining to this Service:
                                                                                                           driveway
8/15/2020 12:05 pm Attempted service at 1808 Bent Oak Cove, Leander, TX 78641, vehicle in
Jsk 6827, spoke with female said not home left my calling card to contact me
8/15/2020 12:16 pm I received call phone number 512-733-3342 said is not available working out
                                                                                                             of town ,




                                             was  a document    to be delivered  personally  stated  don 't know
asked me what it was regarding thanks, it
when he'll be available
                                                                                                               from
8/15/2020 12: 40 pm Attempted service at 1808 Bent Oak Cove, Leander, TX 78641, received call
tsega stated what is it Regarding why am I calling him. Explained      again  I have  a document   to deliver ,  asked
                                                     mentioned    I needed  to  deliver personally he  then   hung   up
what it was regarding I explained what it was    and
                              he  stated  stop calling me  this is harassment    yelling and hung  up  the  phone   .
the phone. I called him back
Avoiding service
                                                                                                                  ,
8/17/2020 10:18 am vehicle is registered to SOSINA ALEMAYEHU who lives at 1808 Bent Oak Cove
Leander
8/17 /2020 10: 40 am Attempted service at 1808 Bent Oak Cove, Leander , TX 78641 no vehicles in drive
                                                                                                                      .
I knocked  on door . No  asnwer . I left my calling card to contact  me .
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                                                             Exhibit "A"


                           AFFIDAVIT OF DUE DILIGENCE For 1:20-CV-771RP

     I certify that I am approved by the Supreme Court of Texas , Misc. Docket No. 05-9122 under rule 103, 501
                                                                                                                  ,
     and 501.2 of the TRCP to deliver citations and other notices from any District , County and Justice Courts  in
     and for the State of Texas . I am competent to make this oath; I am not less than 18 years of age, I am not a
     party to the above-referenced cause, I have not been convicted of a felony or a crime of moral turpitude
                                                                                                               ,
     and I am not interested in the outcome of the above-referenced cause  .




                                                                                    Emmanuel Morales
     Subscribed and Sworn to before me on the 18th day                              P S C # 10708 Exp. 12/ 31/2021
     of August, 2020 by the affiant who is personally
     known to me.                                                                   Pronto Process

    'H&i
      NOTARY PUBLIC
                                                                                    1406 W Salinas
                                                                                    San Antonio, TX 78207
                                                                                    ( 210 ) 226-7192

f
i
             KATHERINE A MITCHELL                                                   Our Job Serial Number: CAN-2020000384
            Notary Public , State of Texas                                          Ref: 20-7026
            C mm Expires 10'10- 2022
    Ximfc* °  Notary ID 131755992
                                             ight © 1992-2020 Database Services Inc - Process Server' s Toolbox V8 1 c
                                                                                ,
